      Case 6:19-cv-01296-PGB-TBS Document 1 Filed 07/15/19 Page 1 of 38 PageID 1

AO 241 (Rev. 09/17)




                                Petition for Relief From a Conviction or Sentence
                                           By a Person in State Custody
                               (Petition Under 28 U.S.C. § 2254 for a Writ of Habeas Corpus)


                                                           Instructions

1.        To use this form, you must be a person who is currently serving a sentence under a judgment against you in a state
          court. You are asking for relief from the conviction or the sentence. This form is your petition for relief.

2.        You may also use this form to challenge a state judgment that imposed a sentence to be served in the future, but
          you must fill in the name of the state where the judgment was entered. If you want to challenge a federal judgment
          that imposed a sentence to be served in the future, you should file a motion under 28 U.S.C. § 2255 in the federal
          court that entered the judgment.

3.        Make sure the form is typed or neatly written.

4.        You must tell the truth and sign the form. If you make a false statement of a material fact, you may be
          prosecuted for perjury.

5.        Answer all the questions. You do not need to cite law. You may submit additional pages if necessary. If you do
          not fill out the form properly, you will be asked to submit additional or correct information. If you want to submit
          any legal arguments, you must submit them in a separate memorandum. Be aware that any such memorandum may
          be subject to page limits set forth in the local rules of the court where you file this petition.

6.        You must pay a fee of $5. If the fee is paid, your petition will be filed. If you cannot pay the fee, you may ask to
          proceed in forma pauperis (as a poor person). To do that, you must fill out the last page of this form. Also, you
          must submit a certificate signed by an officer at the institution where you are confined showing the amount of
          money that the institution is holding for you. If your account exceeds $       25.00     , you must pay the filing fee.

7.        In this petition, you may challenge the judgment entered by only one court. If you want to challenge a judgment
          entered by a different court (either in the same state or in different states), you must file a separate petition.

8.        When you have completed the form, send the original and         2    copies to the Clerk of the United States District
          Court at this address:

                                       Clerk,Clerk,
                                              United  States
                                                    United   District
                                                           States     Court
                                                                  District   forfor
                                                                           Court the Middle District
                                                      401 West    Central Boulevard
                                                            Address
                                                     City, State ZipFlorida
                                                         Orlando,    Code 32801

          If you want a file-stamped copy of the petition, you must enclose an additional copy of the petition and ask the court
          to file-stamp it and return it to you.

9.        CAUTION: You must include in this petition all the grounds for relief from the conviction or sentence that
          you challenge. And you must state the facts that support each ground. If you fail to set forth all the grounds
          in this petition, you may be barred from presenting additional grounds at a later date.

10.       CAPITAL CASES: If you are under a sentence of death, you are entitled to the assistance of counsel and
          should request the appointment of counsel.




                                                                                                                         Page 1 of 16
      Case 6:19-cv-01296-PGB-TBS Document 1 Filed 07/15/19 Page 2 of 38 PageID 2

AO 241 (Rev. 09/17)

                                     PETITION UNDER 28 U.S.C. § 2254 FOR WRIT OF
                                   HABEAS CORPUS BY A PERSON IN STATE CUSTODY

United States District Court                                              I   District: Middle District of Florida

Name (under which you were convicted):                                                                         Docket or Case No.:
Joseph Lynn Halliday

Place of Confinement :                                                                        Prisoner No.:
NWFRC, 4455 Sam Mitchell Drive, Chipley, FL 32425
                                                                                             E53444

Petitioner (include the name under which you were convicted)                  Respondent (authorized person having custody of petitioner)
                    Joseph Lynn Halliday                                          Mark Inch, Secretary, Florida Department of
                                                                     v.
                                                                                                      Corrections


The Attorney General of the State of: Florida



                                                                  PETITION



1.        (a) Name and location of court that entered the judgment of conviction you are challenging:

           Eighteenth Judicial Circuit in and for Brevard County, State of Florida




          (b) Criminal docket or case number (if you know):               13-CF-63830

2.        (a) Date of the judgment of conviction (if you know): 03/20/2015

          (b) Date of sentencing:         04/28/2015

3.        Length of sentence:        life imprisonment

4.        In this case, were you convicted on more than one count or of more than one crime?                   ✔
                                                                                                               ’    Yes        ’ No

5.        Identify all crimes of which you were convicted and sentenced in this case: Count I: Sexual battery on person
           under 12 years of age by person over 18 years of age, s. 794.011(2), Fla. Stat.

           Count II: Lewd and lascivious molestation on a person under 12 years of age by person over 18 years

           of age, s. 800.04(5)(b), Fla. Stat.

           Count III: Providing obscene material to a minor, s. 847.0133, Fla. Stat.




6.        (a) What was your plea? (Check one)
                                     ✔
                                     ’    (1)        Not guilty               ’    (3)       Nolo contendere (no contest)

                                     ’ (2)           Guilty                   ’    (4)       Insanity plea

                                                                                                                                     Page 2 of 16
      Case 6:19-cv-01296-PGB-TBS Document 1 Filed 07/15/19 Page 3 of 38 PageID 3

AO 241 (Rev. 09/17)

          (b) If you entered a guilty plea to one count or charge and a not guilty plea to another count or charge, what did

          you plead guilty to and what did you plead not guilty to? N/A




          (c) If you went to trial, what kind of trial did you have? (Check one)

                        ✔
                        ’ Jury      ’ Judge only

7.        Did you testify at a pretrial hearing, trial, or a post-trial hearing?

                        ’ Yes       ✔
                                    ’      No

8.        Did you appeal from the judgment of conviction?

                        ✔
                        ’ Yes       ’ No

9.        If you did appeal, answer the following:

          (a) Name of court:        Fifth District Court of Appeal
          (b) Docket or case number (if you know):           5D15-1803
          (c) Result:               affirmed in part, reversed in part
          (d) Date of result (if you know):      05/27/2016
          (e) Citation to the case (if you know):           Halliday v. State, 192 So.3d 630 (Fla. 5th DCA 2016)
          (f) Grounds raised: (I) The trial court erred by denying the motion for acquittal where the only evidence of

           lewd and lascivious conduct was an out-of-court statement.

           (II) The trial court erred in admitting the victim's out-of-court statements.

           (III) To the extent counsel failed to preserve any objections to the admissibility of the evidence, he

           committed ineffective assistance that is clear on the record.




          (g) Did you seek further review by a higher state court?            ’ Yes   ✔
                                                                                      ’    No

                      If yes, answer the following:

                      (1) Name of court:

                      (2) Docket or case number (if you know):

                      (3) Result:




                                                                                                                       Page 3 of 16
      Case 6:19-cv-01296-PGB-TBS Document 1 Filed 07/15/19 Page 4 of 38 PageID 4

AO 241 (Rev. 09/17)

                      (4) Date of result (if you know):

                      (5) Citation to the case (if you know):

                      (6) Grounds raised:




          (h) Did you file a petition for certiorari in the United States Supreme Court?            ’   Yes       ✔
                                                                                                                  ’      No

                      If yes, answer the following:

                      (1) Docket or case number (if you know):

                      (2) Result:



                      (3) Date of result (if you know):

                      (4) Citation to the case (if you know):

10.       Other than the direct appeals listed above, have you previously filed any other petitions, applications, or motions

          concerning this judgment of conviction in any state court?                 ✔ Yes
                                                                                     ’              ’   No

11.       If your answer to Question 10 was "Yes," give the following information:

          (a)         (1) Name of court:      Eighteenth Judicial Circuit in and for Brevard County, State of Florida
                      (2) Docket or case number (if you know):         13-CF-63830
                      (3) Date of filing (if you know):         06/06/2017
                      (4) Nature of the proceeding:         Motion for postconviction relief under Fla. R. Crim. P. 3.850

                      (5) Grounds raised:    Ground (1): Ineffective assistance of counsel - failure to object to hearsay
                            evidence supporting the molestation count, which became irrelevant after the State failed

                            to present any non-hearsay evidence in support of that count; failure to object on the

                            grounds that the hearsay statements no longer met the criteria for admission under

                            s. 90.803(23), Fla. Stat., as they lacked the requisite indicia of reliability.

                            Ground (2): Ineffective assistance of counsel - failure to discover and/or use evidence to

                            impeach state witnesses or suggest that coaching had occurred.




                      (6) Did you receive a hearing where evidence was given on your petition, application, or motion?

                        ’ Yes        ✔ No
                                     ’

                      (7) Result:    Summarily denied.



                                                                                                                         Page 4 of 16
      Case 6:19-cv-01296-PGB-TBS Document 1 Filed 07/15/19 Page 5 of 38 PageID 5
AO 241 (Rev. 09/17)

                      (8) Date of result (if you know):    08/31/2018
          (b) If you filed any second petition, application, or motion, give the same information:

                      (1) Name of court:

                      (2) Docket or case number (if you know):

                      (3) Date of filing (if you know):

                      (4) Nature of the proceeding:

                      (5) Grounds raised:




                      (6) Did you receive a hearing where evidence was given on your petition, application, or motion?

                        ’ Yes        ’ No

                      (7) Result:

                      (8) Date of result (if you know):

          (c) If you filed any third petition, application, or motion, give the same information:

                      (1) Name of court:

                      (2) Docket or case number (if you know):

                      (3) Date of filing (if you know):

                      (4) Nature of the proceeding:

                      (5) Grounds raised:




                                                                                                                         Page 5 of 16
      Case 6:19-cv-01296-PGB-TBS Document 1 Filed 07/15/19 Page 6 of 38 PageID 6
AO 241 (Rev. 09/17)

                      (6) Did you receive a hearing where evidence was given on your petition, application, or motion?

                        ’ Yes        ’ No

                      (7) Result:

                      (8) Date of result (if you know):

          (d) Did you appeal to the highest state court having jurisdiction over the action taken on your petition, application,

          or motion?

                      (1) First petition:     ✔ Yes
                                              ’            ’    No

                      (2) Second petition:    ’ Yes        ’    No

                      (3) Third petition:     ’ Yes        ’    No

          (e) If you did not appeal to the highest state court having jurisdiction, explain why you did not:




12.       For this petition, state every ground on which you claim that you are being held in violation of the Constitution,
          laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the facts
          supporting each ground. Any legal arguments must be submitted in a separate memorandum.

          CAUTION: To proceed in the federal court, you must ordinarily first exhaust (use up) your available
          state-court remedies on each ground on which you request action by the federal court. Also, if you fail to set
          forth all the grounds in this petition, you may be barred from presenting additional grounds at a later date.

GROUND ONE: Ineffective assistance of counsel for failing to object and move for a new child hearsay hearing

when the child victim recanted during her trial testimony.

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

See Ground One attached.




(b) If you did not exhaust your state remedies on Ground One, explain why:




                                                                                                                         Page 6 of 16
      Case 6:19-cv-01296-PGB-TBS Document 1 Filed 07/15/19 Page 7 of 38 PageID 7
AO 241 (Rev. 09/17)

(c)       Direct Appeal of Ground One:

          (1) If you appealed from the judgment of conviction, did you raise this issue?            ✔
                                                                                                    ’    Yes        ’ No

          (2) If you did not raise this issue in your direct appeal, explain why:




(d) Post-Conviction Proceedings:

          (1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?
                      ✔
                      ’ Yes       ’ No

          (2) If your answer to Question (d)(1) is "Yes," state:

          Type of motion or petition:       Motion for postconviction relief under Fla. R. Crim. P. 3.850
          Name and location of the court where the motion or petition was filed:

           Eighteenth Judicial Circuit in and for Brevard County, State of Florida
          Docket or case number (if you know):       13-CF-63830
          Date of the court's decision:     06/06/2017
          Result (attach a copy of the court's opinion or order, if available):       Summarily denied




          (3) Did you receive a hearing on your motion or petition?                                 ’    Yes       ✔
                                                                                                                   ’    No

          (4) Did you appeal from the denial of your motion or petition?                            ✔
                                                                                                    ’    Yes        ’ No

          (5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal?   ✔
                                                                                                    ’    Yes        ’ No

          (6) If your answer to Question (d)(4) is "Yes," state:

          Name and location of the court where the appeal was filed:       Fifth District Court of Appeal


          Docket or case number (if you know):       5D18-3109
          Date of the court's decision:     04/02/2019
          Result (attach a copy of the court's opinion or order, if available):     Affirmed




          (7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:




                                                                                                                         Page 7 of 16
      Case 6:19-cv-01296-PGB-TBS Document 1 Filed 07/15/19 Page 8 of 38 PageID 8
AO 241 (Rev. 09/17)

(e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you have

used to exhaust your state remedies on Ground One:        Ineffective assistance of counsel for failing to discover and/or
present evidence to suggest that coaching had occurred.



GROUND TWO:                      Ineffective assistance of counsel for failing to discover and/or present evidence to
suggest that parental coaching of the child victim had occurred.

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

See Ground Two attached.




(b) If you did not exhaust your state remedies on Ground Two, explain why:




(c)       Direct Appeal of Ground Two:

          (1) If you appealed from the judgment of conviction, did you raise this issue?             ’     Yes      ✔
                                                                                                                    ’   No

          (2) If you did not raise this issue in your direct appeal, explain why: Raised for first time in motion for

           postconviction relief



(d)       Post-Conviction Proceedings:

          (1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?
                      ✔
                      ’ Yes        ’ No

          (2) If your answer to Question (d)(1) is "Yes," state:

          Type of motion or petition:      Motion for postconviction relief under Fla. R. Crim. P. 3.850
          Name and location of the court where the motion or petition was filed:

           Eighteenth Judicial Circuit in and for Brevard County, State of Florida


          Docket or case number (if you know):      13-CF-63830


                                                                                                                         Page 8 of 16
      Case 6:19-cv-01296-PGB-TBS Document 1 Filed 07/15/19 Page 9 of 38 PageID 9
AO 241 (Rev. 09/17)

          Date of the court's decision:     06/06/2017
          Result (attach a copy of the court's opinion or order, if available):    Summarily denied




          (3) Did you receive a hearing on your motion or petition?                                  ’     Yes    ✔ No
                                                                                                                  ’

          (4) Did you appeal from the denial of your motion or petition?                             ✔ Yes
                                                                                                     ’            ’ No

          (5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal?    ✔ Yes
                                                                                                     ’            ’ No

          (6) If your answer to Question (d)(4) is "Yes," state:

          Name and location of the court where the appeal was filed: Fifth District Court of Appeal



          Docket or case number (if you know):       5D18-3109
          Date of the court's decision:     04/02/2019
          Result (attach a copy of the court's opinion or order, if available):   Affirmed




          (7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:




(e)       Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you

          have used to exhaust your state remedies on Ground Two :




GROUND THREE:



(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):




                                                                                                                        Page 9 of 16
      Case 6:19-cv-01296-PGB-TBS Document 1 Filed 07/15/19 Page 10 of 38 PageID 10
AO 241 (Rev. 09/17)

(b) If you did not exhaust your state remedies on Ground Three, explain why:




(c)       Direct Appeal of Ground Three:

          (1) If you appealed from the judgment of conviction, did you raise this issue?            ’    Yes        ’ No

          (2) If you did not raise this issue in your direct appeal, explain why:




(d)       Post-Conviction Proceedings:

          (1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?

                      ’ Yes       ’ No

          (2) If your answer to Question (d)(1) is "Yes," state:

          Type of motion or petition:

          Name and location of the court where the motion or petition was filed:



          Docket or case number (if you know):

          Date of the court's decision:

          Result (attach a copy of the court's opinion or order, if available):




          (3) Did you receive a hearing on your motion or petition?                                 ’    Yes        ’ No

          (4) Did you appeal from the denial of your motion or petition?                            ’    Yes        ’ No

          (5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal?   ’    Yes        ’ No

          (6) If your answer to Question (d)(4) is "Yes," state:

          Name and location of the court where the appeal was filed:



          Docket or case number (if you know):

          Date of the court's decision:

          Result (attach a copy of the court's opinion or order, if available):




                                                                                                                        Page 10 of 16
      Case 6:19-cv-01296-PGB-TBS Document 1 Filed 07/15/19 Page 11 of 38 PageID 11
AO 241 (Rev. 09/17)

          (7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:




(e)       Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you

          have used to exhaust your state remedies on Ground Three:




GROUND FOUR:



(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):




(b) If you did not exhaust your state remedies on Ground Four, explain why:




(c)       Direct Appeal of Ground Four:

          (1) If you appealed from the judgment of conviction, did you raise this issue?             ’     Yes      ’ No

          (2) If you did not raise this issue in your direct appeal, explain why:




(d)       Post-Conviction Proceedings:

          (1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?

                      ’ Yes       ’ No

          (2) If your answer to Question (d)(1) is "Yes," state:

          Type of motion or petition:


                                                                                                                        Page 11 of 16
      Case 6:19-cv-01296-PGB-TBS Document 1 Filed 07/15/19 Page 12 of 38 PageID 12
AO 241 (Rev. 09/17)

          Name and location of the court where the motion or petition was filed:



          Docket or case number (if you know):

          Date of the court's decision:

          Result (attach a copy of the court's opinion or order, if available):




          (3) Did you receive a hearing on your motion or petition?                                 ’   Yes       ’ No

          (4) Did you appeal from the denial of your motion or petition?                            ’   Yes       ’ No

          (5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal?   ’   Yes       ’ No

          (6) If your answer to Question (d)(4) is "Yes," state:

          Name and location of the court where the appeal was filed:



          Docket or case number (if you know):

          Date of the court's decision:

          Result (attach a copy of the court's opinion or order, if available):




          (7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:




(e)       Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you

          have used to exhaust your state remedies on Ground Four:




                                                                                                                        Page 12 of 16
      Case 6:19-cv-01296-PGB-TBS Document 1 Filed 07/15/19 Page 13 of 38 PageID 13
AO 241 (Rev. 09/17)

13.       Please answer these additional questions about the petition you are filing:

          (a)         Have all grounds for relief that you have raised in this petition been presented to the highest state court

                      having jurisdiction?    ✔
                                              ’ Yes          ’     No

                      If your answer is "No," state which grounds have not been so presented and give your reason(s) for not

                      presenting them:




          (b)         Is there any ground in this petition that has not been presented in some state or federal court? If so, which

                      ground or grounds have not been presented, and state your reasons for not presenting them:

                       No




14.       Have you previously filed any type of petition, application, or motion in a federal court regarding the conviction

          that you challenge in this petition?         ’     Yes        ✔
                                                                        ’ No

          If "Yes," state the name and location of the court, the docket or case number, the type of proceeding, the issues

          raised, the date of the court's decision, and the result for each petition, application, or motion filed. Attach a copy

          of any court opinion or order, if available.




15.       Do you have any petition or appeal now pending (filed and not decided yet) in any court, either state or federal, for

          the judgment you are challenging?            ’     Yes        ✔
                                                                        ’ No

          If "Yes," state the name and location of the court, the docket or case number, the type of proceeding, and the issues

          raised.




                                                                                                                           Page 13 of 16
      Case 6:19-cv-01296-PGB-TBS Document 1 Filed 07/15/19 Page 14 of 38 PageID 14
AO 241 (Rev. 09/17)

16.       Give the name and address, if you know, of each attorney who represented you in the following stages of the

          judgment you are challenging:

          (a) At preliminary hearing:    Ernest Chang, 6767 N. Wicham Rd., Suite 400, Melbourne, FL 32940-2025



          (b) At arraignment and plea:    Ernest Chang, 6767 N. Wicham Rd., Suite 400, Melbourne, FL 32940-2025


          (c) At trial:          Ernest Chang, 6767 N. Wicham Rd., Suite 400, Melbourne, FL 32940-2025


          (d) At sentencing:   Ernest Chang, 6767 N. Wicham Rd., Suite 400, Melbourne, FL 32940-2025



          (e) On appeal:        Gray Proctor, 1108 E. Main St., Suite 803, Richmond, VA 23219-3522


          (f) In any post-conviction proceeding:        Gray Proctor, 1108 E. Main St., Suite 803, Richmond, VA

           23219-3522
          (g) On appeal from any ruling against you in a post-conviction proceeding: Gray Proctor, 1108 E. Main St.,

           Suite 803, Richmond, VA 23219-3522


17.       Do you have any future sentence to serve after you complete the sentence for the judgment that you are

          challenging?            ’ Yes        ✔
                                               ’       No

          (a) If so, give name and location of court that imposed the other sentence you will serve in the future:




          (b) Give the date the other sentence was imposed:

          (c) Give the length of the other sentence:

          (d) Have you filed, or do you plan to file, any petition that challenges the judgment or sentence to be served in the

          future?                 ’ Yes        ’       No

18.       TIMELINESS OF PETITION: If your judgment of conviction became final over one year ago, you must explain

          why the one-year statute of limitations as contained in 28 U.S.C. § 2244(d) does not bar your petition.*

           Petitioner's direct appeal concluded on May 27, 2016 with an authored opinion reversing in part and

           affirming in part. Retained counsel thereafter filed a 3.850 on June 6, 2017. The appeal of the

           summarily denial of Petitioner's 3.850 was per curiam affirmed on April 2, 2019 with the mandate

           following on April 26, 2019. Accordingly, the time limitation period was effectively tolled and the instant

           petition is timely filed.


                                                                                                                       Page 14 of 16
    Case 6:19-cv-01296-PGB-TBS Document 1 Filed 07/15/19 Page 15 of 38 PageID 15
AO 241 (Rev. 09/17)




* The Antiterrorism and Effective Death Penalty Act of 1996 ("AEDPA") as contained in 28 U.S.C. § 2244(d) provides in

part that:

             (1)      A one-year period of limitation shall apply to an application for a writ of habeas corpus by a person in
                      custody pursuant to the judgment of a State court. The limitation period shall run from the latest of -

                      (A)      the date on which the judgment became final by the conclusion of direct review or the expiration
                               of the time for seeking such review;

                      (B)      the date on which the impediment to filing an application created by State action in violation of
                               the Constitution or laws of the United States is removed, if the applicant was prevented from
                               filing by such state action;

                      (C)      the date on which the constitutional right asserted was initially recognized by the Supreme Court,
                               if the right has been newly recognized by the Supreme Court and made retroactively applicable to
                               cases on collateral review; or

                      (D)      the date on which the factual predicate of the claim or claims presented could have been
                               discovered through the exercise of due diligence.




                                                                                                                          Page 15 of 16
Case 6:19-cv-01296-PGB-TBS Document 1 Filed 07/15/19 Page 16 of 38 PageID 16
Case 6:19-cv-01296-PGB-TBS Document 1 Filed 07/15/19 Page 17 of 38 PageID 17



                                     FACTS IN SUPPORT

          On September 9, 2013, Petitioner was charged by information with Count I:

sexual battery (victim less than 12 years of age by a person over 18), in violation of

§ 794.011(2), Fla. Stat., based on the conduct of having his daughter (“S.H.”),

perform oral sex on him; Count II: lewd and lascivious molestation (victim less than

12 years of age by a person over 18), in violation of § 800.04(5)(b), Fla. Stat., based

on the conduct of his touching S.H. in a lewd manner; and Count III: providing

obscene material to a minor, in violation of § 847.0133, Fla. Stat.

          On March 16, 2016, Petitioner proceeded to trial by jury.

          S.H. was the first witness to testify. S.H. testified that the Petitioner was her

father but she could not identify him in court. (T.126).1 She said that she and her

brother would often stay overnight with the Petitioner. (T.126-127). S.H. stated that

the Petitioner told her to suck his “pee pee” while they were in his room by his

computer and desk. (T.127). S.H. did not know where the pee pee was located on

Petitioner’s body. (T.129). S.H. said she put her tongue on his pee pee while

Petitioner was sitting in a chair by his computer and white stuff came out, which

ended up on the floor. (T.131-132). S.H. testified that the Petitioner never touched

her pee pee. (T.132). S.H. said she sucked Petitioner’s pee pee on five or six




1
    Reference to the trial transcripts will be by the symbol “T.” followed by page number.

                                                 17
Case 6:19-cv-01296-PGB-TBS Document 1 Filed 07/15/19 Page 18 of 38 PageID 18




occasions. (T.133). S.H. remembered telling her mother about the incident and said

she was telling the truth. (T.134).

      On cross examination, S.H. explained that she licked Petitioner’s pee pee five

times like a lollipop and white stuff came out. (T.136-137). S.H. said the pee pee

was yucky and she did not want to touch it. (T.137). She also said the white stuff

was yucky and that it never ended up in her mouth. (T.138). S.H. remembered telling

the child protective team interviewer that the white stuff tasted like rotten apples.

Yet, she admitted she never ate a rotten apple. (T.138-139). S.H. explained that she

and her brother each had their own room at Petitioner’s house and always stayed

there together. (T.139-140). S.H. remembered Miss Lori, Petitioner’s sometime

girlfriend. (T.140). S.H. could not remember if Lori was there when she sucked

Petitioner’s pee pee. (T.141). S.H. said that the door was closed when this happened

and she did not remember telling anyone that it was open. (T.141-142). S.H. also

testified she knew Bradie (Brad Silvernail), but she did not call him daddy, and she

could not remember previously being asked about calling Bradie daddy, instead of

the Petitioner. (T.142-143). S.H. stated that she always had her clothes on when the

incidents occurred. (T.154). S.H. said she remembered seeing a computer movie

where a girl was sucking a boy’s pee pee. (T.155). S.H. said she told her mother

about the incident one time and had not discussed it since. (T.157-158).




                                         18
Case 6:19-cv-01296-PGB-TBS Document 1 Filed 07/15/19 Page 19 of 38 PageID 19




      Kristine Silvernail, S.H.’s mother and Petitioner’s ex-wife, was the next

witness to testify. Silvernail testified that S.H. brought up the incident while

watching the television show, Sponge Bob, opining that a naked Sponge Bob needed

to put clothes on as it was not good to be seen naked. (T.184-185). Silvernail inquired

further, and S.H. responded that her daddy had seen her naked and made her lick his

pee pee until white stuff came out. (T.185). S.H. explained to Silvernail that this act

happened while they were watching a movie and S.H. was doing what the girl in the

movie was doing. (T.186). Silvernail said she called the Department of Children and

Families (“DCF”) the next day, which resulted in Silvernail taking S.H. to DCF for

further questioning. (T.188-189).

      On cross examination, Silvernail stated that S.H. told her that she was in the

Petitioner’s room with him when she was made to suck his pee pee. (T.191).

Silvernail conceded the word may have been “lick.” (T.191). She testified that she

previously had issues with the Petitioner and had called DCF several times on him

in the past, but never for any issues regarding abuse. (T.192). Silvernail said she did

not immediately call anyone after receiving the news from S.H., but discussed the

issue with her husband, Brad Silvernail, and called DCF the next morning. (T.193).

Silvernail stated that S.H. told her that she licked Petitioner’s pee pee until white

stuff came out in the same manner as the girl was doing to the boy in the movie.

(T.195). S.H. told Silvernail that the white stuff tasted nasty but did not say where it


                                          19
Case 6:19-cv-01296-PGB-TBS Document 1 Filed 07/15/19 Page 20 of 38 PageID 20




went. (T.195-196). Silvernail testified that she was married to Brad Silvernail around

the time of the incident. (T.198). Silvernail said that S.H. was calling Brad daddy on

her own volition and denied telling S.H. to refer to Brad as her daddy. (T.198-199).

      Silvernail went on to state that she did not get along with Petitioner after their

divorce and that she initially denied Petitioner visitation with their children. (T.199-

200). Silvernail said this was resolved by the courts with a 50/50 custody split.

Silvernail stated another disagreement arose when Petitioner kept the kids for

Halloween 2010 – a holiday that was supposed to be spent with Silvernail – and did

not return them until the next day. (T.208). Silvernail said she thereafter filed an

emergency petition for full custody and it was granted. (T.209). She said that she

denied visitation rights from the Petitioner at his next turn with the kids. (T.210).

This disagreement was also resolved by the courts with a return to a 50/50 custody

split. (T.210). Silvernail said she knew Petitioner’s live-in girlfriend, Lori Kinsley.

(T.212-213). She also admitted to obtaining first a temporary injunction and later

full custody rights of the children following the allegations in the instant case.

(T.211-212).

      On redirect, Silvernail expounded further on her custody conflicts with the

Petitioner. She said that on Halloween 2010 she went to Petitioner’s residence, called

repeatedly and received no answer. (T.216). Silvernail said she then called the

Rockledge Police Department to come and resolve the issue. (T.216). She did not


                                          20
Case 6:19-cv-01296-PGB-TBS Document 1 Filed 07/15/19 Page 21 of 38 PageID 21




remember how the kids were returned to her the next day, but she did remember

immediately filing the emergency petition for full custody on the basis of Petitioner’s

out-of-town employment. (T.216-217). On recross, Silvernail admitted to being

angry at Petitioner about the Halloween issue. (T.223).

      Christie Stowers, DCF child protection investigator, was the next witness.

Stowers stated that when S.H. initially disclosed the allegations about licking her

father’s pee pee, the interview was terminated per policy for the purpose of trying to

capture the allegations in a recording. (T.234-235).

      Anneli Hurley, child protection team coordinator, testified that she

interviewed S.H. on camera and recognized the DVD of the interview. (T.260-262).

Defense counsel objected to the playing of the video on the grounds of hearsay,

cumulative evidence, and violation of the confrontation clause of the U.S.

Constitution. (T.263). The Court overruled the objection and allowed the video to

be played to the jury.

      In the video, S.H. stated that she would stay at Petitioner’s house with Tyler,

Lori, and the Petitioner. (T.274-275). She said that her mother and father take turns

with her custody. (T.276). S.H. quickly stated that her father makes her lick his pee

pee until white and yellow stuff comes out. (T.276-277). S.H. said the first time it

happened, Petitioner was sitting in a chair and she was in front of him licking his

pee pee when white stuff came out and fell on the floor. (T.277-282). S.H. said he


                                          21
Case 6:19-cv-01296-PGB-TBS Document 1 Filed 07/15/19 Page 22 of 38 PageID 22




was doing something with his hand to his pee pee. (T.283). S.H. said there were five

(5) separate events where she had to lick his pee pee. (T.286, 303). S.H. said that

Petitioner took off her clothes, put her in the middle of the room, and then he licked

and rubbed her pee pee. (T.287-289, 306-308). S.H. said that Petitioner touched her

five (5) separate times. (T.316). S.H. said that Petitioner showed her a girl licking a

boy’s pee pee on the computer ten (10) times. (T.286). Throughout the video, S.H.

drew numerous depictions of the events and the layout of Petitioner’s room. (T.280-

281, 284, 300). S.H. stated that Petitioner did not take good care of her and her

brother because he did not like going to birthday parties. (T.329). “That’s why it’s a

bummer.” (T.329). She also stated that when her and her brother got into trouble at

Petitioner’s house, he would yell at them and put them in time out. (T.330).

       Detective Robert Weigel of the Rockledge Police Department testified that

he monitored the interview with S.H. and collected her drawings. (T.364-366).

Defense counsel objected to the entry of the drawings into evidence on the grounds

of hearsay, relevance, and authenticity. (T.368-369). The trial court overruled the

objections and allowed the drawings into evidence. (T.369, 374).

      Cindy Seeley, crime scene technician for the Rockledge Police Department,

testified that she collected Petitioner’s desk chair, laptop, pornographic DVD’s, and

a soiled piece of carpet near the front of Petitioner’s computer desk. (T.398-400).

She sent a portion of the seat cover from the chair and the carpet to the Florida


                                          22
Case 6:19-cv-01296-PGB-TBS Document 1 Filed 07/15/19 Page 23 of 38 PageID 23




Department of Law Enforcement (“FDLE”) for testing along with DNA swabs from

the Petitioner and S.H. (T.412, 415, 417).

      Charles A. Badger, senior crime lab analyst for the FDLE, identified semen

in the portion of the chair and linked it via DNA analysis to the Petitioner. (T.445-

448). Badger also identified semen in the carpet sample. (T.450). Two male

contributors were located in the carpet. (T.452). The Petitioner was linked by DNA

as being one of these contributors. (T.451).

      Following Badger’s testimony, the State rested. (T.482). Defense counsel

thereafter moved for a judgment of acquittal. (T.483). Counsel argued for acquittal

based on lack of identification. (T.483). As to Count Two, counsel argued that S.H.

said that the Petitioner never touched her while testifying on the stand. (T.483, 489).

Counsel again argued that the playing of the S.H. interview video violated the

confrontation clause of the U.S. and Florida Constitutions and constituted hearsay.

(T.484-485). The trial court denied the motion, finding that the State had presented

prima facie evidence of guilt and that identification had been established through

witnesses other than S.H. (T.490).

      The defense called the Petitioner’s former live-in girlfriend, Lori Knisley, as

a witness. Knisley testified she was in an on-and-off relationship with the Petitioner

from September 2011 through August 2013. (T.497). Knisley stated she regularly

stayed the night with Petitioner when the kids were in his care. (T.497). Knisley


                                          23
Case 6:19-cv-01296-PGB-TBS Document 1 Filed 07/15/19 Page 24 of 38 PageID 24




described Petitioner as a strict disciplinarian with his children that also spent quality

time with them playing video games and watching movies. (T.499-500). Knisley

said that she had a normal sex life with the Petitioner and he never expressed any

desire to engage in any sexual behavior with children. (T.504). Knisley said that each

of Petitioner’s children had accidently walked in on her engaged in sex with the

Petitioner. (T.505). Knisley reiterated this point on cross examination and stated that

S.H. had barged in the room, caught them, and then exclaimed on exiting that “I saw

daddy’s wienie.” (T.517-518).

       Petitioner chose not to testify. (T.530). Following closing arguments, the

Petitioner was found guilty as charged on all counts. (T.702-703).

       Petitioner appealed to the Fifth District Court of Appeal. On appeal, appellate

counsel argued (1) trial court error in denying the motion for judgment of acquittal

on Count Two where the video of the victim’s unsworn, out-of-court statements

were the only evidence to support the conviction; (2) trial court error in admitting

the video of the victim’s out-of-court statements as the video constituted

inadmissible child hearsay following S.H.’s recantation on the stand regarding Count

Two; and (3) ineffective assistance of counsel based on trial counsel’s failure to

make objections regarding the admissibility of evidence. The Fifth District agreed

as to the first issue:

       [B]ecause uncorroborated out-of-court statements were the only
       evidence in this case of lewd and lascivious molestation as charged by

                                           24
Case 6:19-cv-01296-PGB-TBS Document 1 Filed 07/15/19 Page 25 of 38 PageID 25




      the State, we reverse Halliday’s conviction on this count and remand
      for entry of a judgment of acquittal on that charge. We find no error in
      the convictions for sexual battery and distributing obscene materials,
      and affirm those convictions.

Halliday v. State, 192 So. 3d 630, 631 (Fla. 5th DCA 2016).

      Postconviction counsel filed a motion for postconviction relief pursuant to

Rule 3.850, Fla. R. Crim. P., which was initially dismissed as facially insufficient.

Counsel thereafter filed an amended motion containing two grounds. Ground One

alleged that counsel was ineffective for failing to avail himself of any objections that

should have led to the exclusion of all of S.H.’s out of court statements. Within the

ground, postconviction counsel alleged the following:

      In this case, the primary evidence was out—of—court statements from
      Mr. Halliday________. ‘S.H. The state presented them in the form of
      testimony from Mr. Halliday who claimed that S.H. reported abuse to
      her, and from a recorded interview by a Child Protection Team official.
      The effect of the hearsay evidence on the jury was obviously great, as
      Mr. Halliday was convicted of lewd and lascivious behavior even after
      S.H. in court denied under oath that it had occurred. Trial counsel failed
      to avail himself of any of the objections that should have led to the
      exclusion of all of S.H.’s out—of—court statements. Due to the
      importance the jury placed on these statements, there is a reasonable
      probability that Mr. Halliday would not have been convicted absent the
      cumulative effect of these errors. S.H testified first. When she denied
      the acts that formed the basis of the molestation charge, it was clear that
      the state would only present hearsay evidence that molestation
      occurred. It has long been settled that hearsay along cannot sustain a
      conviction. Beber v. State, 887 So.2d 1248, 1253 (Fla. 2004); State v.
      Green, 667 So.2d 756, 760 (Fla. 1995). Thus, the statements were no
      longer relevant to any charge for which Mr. Halliday could be
      convicted.



                                          25
Case 6:19-cv-01296-PGB-TBS Document 1 Filed 07/15/19 Page 26 of 38 PageID 26




     Counsel rendered deficient performance by failing to object to out—
     of—court statements that formed the basis of the charge of lewd and
     lascivious molestation. Moreover, when S.H. recanted her earlier
     statements on molestation, it created a problem with all of her out—
     of—court statements. The Supreme Court of Florida recognizes that,
     generally, “prior consistent statements are not admissible to bolster the
     testimony of a witness.” Chandler v. State, 702 So.2d 186 (Fla. l997).
     The legislature has created an exception to this hearsay principle when
     the victim is a child who has allegedly suffered sexual abuse. Fla. Stat.
     § 90.803(23). A child victim’s prior statement “not otherwise
     admissible” becomes admissible if the trial court determines that “the
     time, content, and circumstances of the statement provide sufficient
     safeguards of reliability.” Id, Courts are directed to consider “the
     mental and physical age and maturity of the child, the nature and
     duration of the abuse or offense, the relationship of the child to the
     offender, the reliability of the assertion, the reliability of the child
     victim, and any other factor deemed appropriate.” Although the statute
     contemplates an initial decision based solely on review of the statement
     itself, it is equally obvious that a subsequent recantation is important
     evidence that the statement lacks the required indicia of reliability.
     Baugh v. State, 862 So.2d 756, 765 (Fla. 2d DCA 2003) (citing to
     Ehrhardt for the proposition that without trial testimony indicating that
     abuse occurred, out—of—court statements are not sufficiently reliable
     due to the circumstances in which they were made).

     Therefore, aside from the rule that an out—of—court statement is not
     sufficient evidence to convict, the recantation rendered admission of
     the evidence of touching and licking, and arguably the entire video,
     error because the statement no longer bore sufficient indicia of
     reliability necessary for the child hearsay exception. At that point, they
     became inadmissible. Cf State v. Green, 667 So.2d 756, 760 (Fla. 1995)
     (citing Jaggers v. State, 536 So.2d 321, 325 (Fla. 2d DCA 1988) (“Once
     the state introduced the exculpatory testimony, the inculpatory prior
     unsworn statements became prior inconsistent statements and should
     not have been allowed into evidence, in this case, for any purpose, and
     certainly not as substantive evidence.”)).

     No tactical reason for admitting the out—of—court statements
     establishing lewd and lascivious molestation exists. Many times, courts
     conclude that a tactical reason could exist for allowing the out—of—

                                        26
Case 6:19-cv-01296-PGB-TBS Document 1 Filed 07/15/19 Page 27 of 38 PageID 27




      court statement, as it bears on the credibility of the witness. Here,
      however, counsel did not take that route. Counsel’s references in
      closing to the recantation were limited to the sufficiency of the evidence
      supporting Count II, not S.H.’s credibility with respect to other counts.
      (R. 609-610, 627). Obviously this point would have been moot if the
      out of—court had been properly excluded in the first place.

      Thus, Counsel rendered ineffective assistance by failing to object to the
      hearsay evidence supporting the molestation count, which became
      irrelevant to any material fact after the state failed to present any non—
      hearsay evidence in support of that count. Counsel also rendered
      ineffective assistance by failing to object on the grounds that the
      hearsay statements no longer met the criteria for admission under Fla.
      Stat. § 90.803(23). Without the prejudicial hearsay statements, a
      reasonable probability exists that Mr. Halliday would have been
      acquitted.

(See, amended 3.850 at p. 4-7).

      In Ground Two, postconviction counsel argued that trial counsel was

ineffective in failing to investigate, obtain, and present admissible evidence that

would show the mother, Kristine Silvernail, coached S.H.’s testimony and

statements to officials. (See, amended 3.850 at p. 7). This evidence included the

following enumerated items:

      1) A fifteen-page diary by Silvernail directed to S.H. - in the future -
      which slanders and villainizes Petitioner;

      2) Medical records and Petitioner’s testimony indicating that that S.H.
      was delivered prematurely because Silvernail was severely
      preeclamptic, not because Petitioner abused her, contrary to what she
      testified;

      3) Silvernail lied about her sexual history and about the source of the
      chlamydia she gave to Petitioner at the beginning of the relationship;


                                         27
Case 6:19-cv-01296-PGB-TBS Document 1 Filed 07/15/19 Page 28 of 38 PageID 28




       4) Silvernail lied about her pregnancy status;

       5) Silvernail lied about the paternity of her third child;

       6) Silvernail committed identity fraud by obtaining a credit card in Mr.
       Halliday’s name;

       7) Silvernail misrepresented to the family court that Petitioner had left
       the state permanently and thereby obtained an award of full custody;

       8) Silvernail misrepresented to the Department of Children and Family
       Services that Petitioner was responsible for an injury to T.H., which
       occurred while Petitioner was stationed overseas in Iraq;

       9) Other incidents that were discovered and/or supported by evidence
       during the ongoing investigation of this case.

(See, amended 3.850 at p. 8).

       The trial court summarily denied both grounds. As to Ground One, the trial

court stated that the motion specified neither which out-of-court statements trial

counsel should have objected to, nor what objections should have been made. (See,

summary denial at p. 3). The court further found that this argument had been

successfully presented on direct appeal resulting in an acquittal on Count Two;

therefore, prejudice could not be demonstrated. Id. As to Ground Two, the trial court

found the items of evidence inadmissible and lacking relevance. (See, summary

denial at p. 3-4).

       Postconviction counsel appealed the summary denial and filed a brief in

support. However, the Fifth District Court of Appeal affirmed the denial, without

opinion. See, Halliday v. State, 267 So. 3d 1029 (Fla. 5th DCA 2019).

                                           28
Case 6:19-cv-01296-PGB-TBS Document 1 Filed 07/15/19 Page 29 of 38 PageID 29



                              STANDARD OF REVIEW

      A federal court may grant habeas relief only if the decision of the state court

(1) was contrary to, or involved an unreasonable application of, clearly established

federal law, as determined by the Supreme Court, or (2) was based on an

unreasonable determination of the facts in light of the evidence presented in the state

court proceeding. Title 28 U.S.C. § 2254(d)(1), (2).

                                  GROUND ONE

      PETITIONER WAS DENIED THE EFFECTIVE ASSISTANCE OF
      COUNSEL GUARANTEED BY THE 6TH AND 14TH
      AMENDEMNTS TO THE UNITED STATES CONSTITUTION,
      WHERE COUNSEL FAILED TO OBJECT AND MOVE FOR A
      NEW CHILD HEARSAY HEARING WHEN THE CHILD VICTIM
      RECANTED DURING HER TRIAL TESTIMONY.

                                    ARGUMENT

      Petitioner claims he was denied his right to the effective assistance of counsel,

as guaranteed by the 6th and 14th Amendments to the United States Constitution,

where counsel failed to object otherwise move the trial court for a new reliability

hearing on the admissibility of the child victim’s out-of-court hearsay statements,

where the child victim recanted on one of the allegations of sexual misconduct

during her trial testimony.

      To make a successful claim of ineffective assistance of counsel, a defendant

must show both that (1) his counsel’s performance was deficient, and (2) the

deficient performance prejudiced his defense. Strickland v. Washington, 466 U.S.

                                          29
Case 6:19-cv-01296-PGB-TBS Document 1 Filed 07/15/19 Page 30 of 38 PageID 30



668, 687, 104 S. Ct. 2052, 80 L. Ed. 2d 674 (1984). Deficient performance is

established where it is shown that counsel’s acts, actions and/or omissions fell below

objective standards of reasonableness governing the profession. Prejudice is

established where, absent counsel’s deficient performance, a reasonable probability

exists that the outcome of the proceedings would have been different. Id.

Deficient performance:

       Prior to jury trial, the court held a hearing pursuant to § 90.803(23), Fla. Stat.,

to determine the admissibility of S.H.’s out-of-court, hearsay statements.2 The court

heard testimony from several of the State’s prospective witnesses and watched a

video recording of the interview conducted by the child protective team (“CPT”).

During that CPT interview, S.H. made several statements that were inconsistent with

previous statements she had made during the interview and to other hearsay

witnesses. Said inconsistencies include how many times the sexual acts occurred,

who was in the apartment when they occurred, whether she told her mother after the

first time it happened, whether she told her brother it happened, whether the door

was opened or shut when it occurred, what position she was in when it occurred, etc.

S.H. also alleged that, in addition to Petitioner forcing her to perform oral sex on


2
  Under Florida law, child hearsay is recognized as an exception to the hearsay rule in which the
availability of the declarant is immaterial. For a child hearsay statement to be admitted as
substantive evidence under § 90.803(23), the statement must meet two specific reliability
requirements: (1) the source of the information through which the statement was reported must
indicate trustworthiness; and (2) the time, content, and circumstances of the statement must reflect
that the statement provides sufficient safeguards of reliability. See id.

                                                30
Case 6:19-cv-01296-PGB-TBS Document 1 Filed 07/15/19 Page 31 of 38 PageID 31



him, he would often perform oral sex on her as well. S.H. was very descriptive of

the instances where Petitioner allegedly performed oral sex on her in the CPT

interview, stating that Petitioner “licked her pee pee and was rubbing her pee pee”

(CHT.81-82).3 S.H. described that Petitioner would ask her to get naked and then

would tell her “I’m going to rub your pee pee.” (CHT.82). S.H. said Petitioner

“licked her pee pee in the middle and he didn’t say anything about it.” S.H. stated

that it “felt bad” when Petitioner licked her pee pee and that it “tickled” when he

rubbed her pee pee. (CHT.84). She described the feeling when Petitioner rubbed her

pee pee as both “Nasty and “Ticklish” (CHT.119). S.H. said it felt like she was

“licked by a horse” when Petitioner performed oral sex on her. (CHT.119-120).

       At the conclusion of the hearing to determine admissibility of the out-of-court

hearsay statements, the trial court did note there were some inconsistencies in some

of the things that S.H. said, but determined those inconsistencies to be a question of

weight rather than affecting admissibility. (CHT.163). The court found that S.H.

knew the difference between a truth and a lie, that she was intelligent, and that her

recollection seemed unrehearsed. (CHT.162). The court further found that she was

descriptive, stating:

       She was descriptive. I’m not going to go through all that but she was
       descriptive and she talked about pee pee, her pee pee, her daddy’s pee
       pee, stuff that she saw, white stuff, yellow stuff. Described him -- her

3
  Reference to the December 14, 2014, transcripts of child hearsay hearing will be referred to by
the symbol “CHT” followed by page number.

                                               31
Case 6:19-cv-01296-PGB-TBS Document 1 Filed 07/15/19 Page 32 of 38 PageID 32




      licking and at one point she did use the word suck her daddy’s pee pee
      and that he licks her pee pee and rubs her pee pee and made a motion
      with her hand that was demonstrative of that.

(CHT.162) (emphasis added). The court concluded:

      In looking at the statute, I find that the method or circumstances is not,
      I repeat not, indicative of a lack of trustworthiness. The child is less
      than sixteen years of age. She’s describing acts of sexual abuse and of
      offenses involving an unlawful sexual act and contact and perhaps
      penetration.

(CHT.163).

      At jury trial, S.H. was the State’s first witness. The trial testimony given by

S.H. only highlighted further inconsistencies with her out-of-court hearsay

statements. Most importantly, contrary to her statements during the recorded CPT

interview, S.H. testified that the Petitioner never touched her pee pee. (T.132).

      At the conclusion of S.H.’s testimony and prior to any other witnesses coming

in, defense counsel should have objected to the introduction of any out-of-court

hearsay statements on the basis that the child victim had recanted with respect to one

of the charged sexual acts, and therefore said out-of-court hearsay was unreliable

and lacking trustworthiness. Defense counsel should have immediately asked the

court to revisit its previous ruling on the admissibility of the child hearsay

statements. Counsel did not. Counsel’s failure in this regard amounts to deficient

performance under Strickland.




                                         32
Case 6:19-cv-01296-PGB-TBS Document 1 Filed 07/15/19 Page 33 of 38 PageID 33




Prejudice:

      Petitioner was highly prejudiced by defense counsel’s failure to challenge the

introduction of the child hearsay statements after the child victim recanted during

her trial testimony. After S.H. testified, the jury heard otherwise inadmissible

testimony from Silvernail, Christie Stowers, Anneli Hurley, and Robert Weigel,

regarding the out-of-court child hearsay statements. Additionally, the recorded CPT

interview was played in its totality, and the jury heard S.H. describe the false sexual

acts which she had recanted earlier during her trial testimony. The jury must have

accorded great weight to the recorded CPT interview, because they convicted

Petitioner of the lewd and lascivious charge in Count 2 notwithstanding the fact that

S.H. recanted those allegations.

      Had counsel lodged the appropriate objection immediately after S.H.’s trial

testimony, the trial court would have revisited the matter of the admissibility of the

child hearsay outside of the presence of the jury. Faced with this new, alarming

evidence that the child victim had previously been untruthful about such a serious

sexual allegation - an allegation which the trial court gave specific credence to in

deciding to admit the child hearsay statements - a reasonable probability exists that

the court would have determined that the child hearsay lacked the trustworthiness

and reliability required to be entered as substantive evidence under § 90.803(23).

The court would have excluded the admission of the child hearsay, which necessarily


                                          33
Case 6:19-cv-01296-PGB-TBS Document 1 Filed 07/15/19 Page 34 of 38 PageID 34



would have excluded every other State’s witness from testifying, as well as barred

the introduction of the recorded CPT interview. Ultimately, the Petitioner would

have received an acquittal on all charges because the State’s entire case was

comprised of the untrustworthy and unreliable child hearsay.

      Accordingly, this Court should find that the state court’s decision affirming

this claim was an unreasonable application of Strickland, vacate the convictions and

require a new trial. Alternatively, Petitioner requests an evidentiary hearing.

                                   GROUND TWO

      PETITIONER WAS DENIED THE EFFECTIVE ASSISTANCE OF
      COUNSEL GUARANTEED BY THE 6TH AND 14TH
      AMENDEMNTS TO THE UNITED STATES CONSTITUTION,
      WHERE COUNSEL FAILED TO DISCOVER AND/OR PRESENT
      EVIDENCE TO SUGGEST THAT COACHING HAD OCCURRED.

      Petitioner claims that defense counsel rendered ineffective assistance for

failing to discover and/or present evidence which would suggest that victim

coaching had occurred.

Deficient performance:

      Petitioner’s relationship with the child victim’s mother, Kristine Silvernail,

continued to deteriorate in the years following their divorce. She initially denied

Petitioner any visitation with their children. After a legal battle, the court ultimately

resolved the matter by awarding Petitioner a 50/50 custody split. When Petitioner

kept the kids for Halloween in 2010 – a holiday that was supposed to be spent with


                                           34
Case 6:19-cv-01296-PGB-TBS Document 1 Filed 07/15/19 Page 35 of 38 PageID 35




Silvernail – and did not return them until the next day, Silvernail immediately filed

an emergency petition for full custody and it was granted. She retaliated by denying

visitation rights from the Petitioner at his next turn with the kids. Her vindictiveness

resulted with the court granting a return to a 50/50 custody split. Following the

sexual allegations in the instant case, Silvernail obtained a temporary injunction,

followed by full custody rights of the children.

      During closing argument at jury trial, defense counsel attempted to present a

coaching defense, imploring the jury to find that S.H. was coached by Silvernail to

make these accusations against Petitioner as part of their ongoing custody battle:

      May it please the Court, counsel. Out of the mouth of babes did your
      mom help you remember what to say? and on the stand on Wednesday
      on one of my recross examinations [S.H.] acknowledged, yes, mom
      talked to her about what to say before the interview…

      … That mother, Kristine Silvernail, is not an eyewitness to any of these
      allegations but, ladies and gentlemen, she has the motive and the ability
      to coach her daughter to make these accusations and to accomplish
      what she wants and that is to obtain full custody. (T.592-94).

                                      *    *    *

      Same thing when you get to the CPT interview. You saw the interview
      in its entirety. We fast forwarded through one break but you saw the
      interview in its entirety. Come in, small introduction, qualify her, so tell
      me about your daddy. The first thing she blurts out, daddy makes me
      lick his pee pee. Okay. Daddy did a great job telling her don’t tell
      anyone. If that’s all it takes, tell me the difference between the truth and
      a lie and your child just blurts out. And that comes back to my theme of
      getting her to tell you, yes, mom helped me remember what to say
      during the interview. (T.619-20).


                                          35
Case 6:19-cv-01296-PGB-TBS Document 1 Filed 07/15/19 Page 36 of 38 PageID 36




                                   *    *   *

     I don’t want to be offensive to anyone but, you know, young children
     believe in Santa Clause. They believe in Santa Clause because we tell
     them. We give them gifts and we write that the gift is from Rudolph or
     from Santa and for years until they get older and they can understand
     and comprehend, they believe it. A five year old child if the mother or
     someone else says hey, Santa came last night, did you here Rudolph’s
     footsteps on the roof. You know what that child is likely to respond?
     Yeah, I heard Rudolph’s footsteps. Rudolph didn’t step on the roof but
     that child very well could repeat that and believe it simply because
     they’re told.

     At the very beginning of that video [S.H.] says -- there were -- sorry,
     I’ll withdraw that. No, there it is. Somewhere at the very beginning of
     the video during the qualification of truth or a lie [S.H.] also says we
     already talked about that at our house. This is a CPT interview a week
     or ten days after the police get involved. And again unprompted this is
     [S.H.] telling the interviewer we already talked about that stuff at our
     house. What else did they talk about at home. What else did mom help
     her to remember. (T.622-23).

                                   *    *   *

     Coming back, I made a point, right at the very beginning of the
     interview the interviewer says, on the video says talk to me about daddy
     and her immediate response without any prompting immediate
     disclosure, boom, daddy makes me lick his pee pee. She couldn’t wait
     to get it out. Coaching from mom or something else. I guess that’s as
     spontaneous as it gets.

     Ladies and gentlemen, it is the State’s burden to prove this case to you
     beyond and to the exclusion of every single reasonable doubt. Do not
     convict based on the charges, the nature of the charges or the
     seriousness of the charges. Don’t convict on mere allegations. Kids can
     be coached. Kids can be influenced to believe that certain things
     happened when in fact they did not. (T.626).




                                       36
Case 6:19-cv-01296-PGB-TBS Document 1 Filed 07/15/19 Page 37 of 38 PageID 37




      Yet, for all of counsel’s effort to paint a picture of parental coaching, the trial

was void of any substantive evidence that would support such a theory. Defense

counsel failed to discover and/or enter the following:

      1) A fifteen-page diary by Silvernail directed to S.H. - in the future -
      which slanders and villainizes Petitioner;

      2) Medical records and Petitioner’s testimony indicating that that S.H.
      was delivered prematurely because Silvernail was severely
      preeclamptic, not because Petitioner abused her, contrary to what she
      testified;

      3) Silvernail lied about her sexual history and about the source of the
      chlamydia she gave to Petitioner at the beginning of the relationship;

      4) Silvernail lied about her pregnancy status;

      5) Silvernail lied about the paternity of her third child;

      6) Silvernail committed identity fraud by obtaining a credit card in Mr.
      Halliday’s name;

      7) Silvernail misrepresented to the family court that Petitioner had left
      the state permanently and thereby obtained an award of full custody;

      8) Silvernail misrepresented to the Department of Children and Family
      Services that Petitioner was responsible for an injury to T.H., which
      occurred while Petitioner was stationed overseas in Iraq;

      9) Other incidents that were discovered and/or supported by evidence
      during the ongoing investigation of this case.

Prejudice:

      Petitioner was highly prejudiced by defense counsel’s failure to discover

and/or introduce the foregoing items of evidence in support of the defense theory


                                          37
Case 6:19-cv-01296-PGB-TBS Document 1 Filed 07/15/19 Page 38 of 38 PageID 38




that the child victim was coached by Silvernail as part of an ongoing custody battle.

Counsel made the argument, but it had no substance, no evidentiary meat for the jury

to digest and return a verdict of not guilty.

      Had counsel supported his case with substantive evidence, a reasonable

probability exists - especially in light of all the other inconsistencies in the case -

that the jury would have found Silvernail engaged in parental coaching and would

have acquitted Petitioner of all charges.

      Accordingly, this Court should find that the state court’s decision affirming

this claim was an unreasonable application of Strickland and/or was based on an

unreasonable determination of the facts in light of the evidence presented, vacate the

convictions and require a new trial. Alternatively, Petitioner requests an evidentiary

hearing.




                                            38
